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                                 CERTIFICATE OF SERVICE

               I, Tori L. Remington, hereby certify that on March 7, 2024, I caused the foregoing

to be served upon the parties set forth on the attached service list in the manner indicated. All ECF

participants registered in these cases were served electronically on the date of filing through the

Court’s ECF system at their respective email addresses registered with the Court.


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